                                                                                           E-FILED IN OFFICE - JM
        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 1 of 12                  CLERK OF STATE COURT
                                                                                     GWINNETT COUNTY, GEORGIA
                                                                                               22-C-00187-S4
                                                                                           2/17/2022 1:29 PM
                                                                                         TIANA P. GARNER, CLERK

                    IN THE STATE COURT OF GWINNETT COUNTY
                                   STATE OF GEORGIA

 KATINA BOOKER,
                                            )
                  Plaintiff,                )
                                            )
                                                              CIVIL ACTION
                                            )
 v.
                                            )
                                            )            FILE NO. 22-C-00187-S4
 QUIKTRIP CORPORATION, JANE                 )
 DOE, JOHN DOE, XYZ CORP, AND               )
 ABC CORP,                                  )
                                            )
                 Defendants.


                     DEMAND FOR TWELVE MEMBER JURY TRIAL

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and demands a trial by a twelve member

jury in the above styled action.

                                           Respectfully submitted,
                                           DOWNEY & CLEVELAND, LLP


                                           By:    /s/ Sean L. Hynes
                                                  Sean L. Hynes
                                                  Georgia State Bar No. 381698
                                                  hynes@downeycleveland.com
                                                  Attorneys for Defendant Quiktrip
                                                  Corporation


Downey & Cleveland, LLP
288 Washington Avenue
Marietta, GA 30060-1979
T: 770-422-3233
F: 770-423-4199




                                                                                               Exhibit B
        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 2 of 12




                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served the following counsel of record with a true and

correct copy of the foregoing pleading via electronic service and/or by depositing said copy in the

United States Mail, with sufficient postage affixed thereon, and properly addressed to the

following:

       Vangelis Zafiroulis, Esq.
       William T. “Billy” Joyner, Esq.
       Haug Law Group, LLC
       8237 Dunwoody Place
       Atlanta, Georgia 30350

       This 17th day of February, 2022.

                                              DOWNEY & CLEVELAND, LLP


                                              By:     /s/ Sean L. Hynes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
                                                                                            E-FILED IN OFFICE - JM
        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 3 of 12                   CLERK OF STATE COURT
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                                               )            FILE NO. 22-C-00187-S4
 QUIKTRIP CORPORATION, JANE                    )
 DOE, JOHN DOE, XYZ CORP, AND                  )
 ABC CORP,                                     )
                                               )
                Defendants.


                RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       Pursuant to Uniform State Court Rule 5.2, the undersigned hereby certifies that on the date

shown, Defendant QUIKTRIP CORPORATION, appearing specially and without submitting to

the jurisdiction and venue of this Court, served copies of the following pleadings:

       1.      Defendant’s First Continuing Interrogatories to Plaintiff;
       2.      Defendant’s First Request for Production of Documents to Plaintiff;
       3.      Defendant’s First Request for Admissions to Plaintiff; and
       4.      Defendant’s Responses to Plaintiff’s Request for Admissions.

by depositing same in the United States Mail, properly addressed and with sufficient postage

affixed thereon, to the following counsel of record:

       Vangelis Zafiroulis, Esq.
       William T. “Billy” Joyner, Esq.
       Haug Law Group, LLC
       8237 Dunwoody Place
       Atlanta, Georgia 30350

       This 17th day of February, 2022.
       Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 4 of 12




                                   Respectfully submitted,
                                   DOWNEY & CLEVELAND, LLP


                                   By:    /s/ Sean L. Hynes
                                          Sean L. Hynes
                                          Georgia State Bar No. 381698
                                          hynes@downeycleveland.com
                                          Attorneys for Defendant Quiktrip
                                          Corporation


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       Atlanta, Georgia 30350

       This 17th day of February, 2022.

                                              DOWNEY & CLEVELAND, LLP


                                              By:     /s/ Sean L. Hynes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
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        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 6 of 12                     CLERK OF STATE COURT
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                  Plaintiff,                     )
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                                                 )
 v.
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                                                 )          FILE NO. 22-C-00187-S4
 QUIKTRIP CORPORATION, JANE                      )
 DOE, JOHN DOE, XYZ CORP, AND                    )
 ABC CORP,                                       )
                                                 )
                Defendants.


                  DEFENDANT QUIKTRIP CORPORATION’S NOTICE
                        OF FILING ORIGINAL DISCOVERY

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and files the following Original Discovery

with the Clerk of Court:

                                            1.

       Defendant’s Responses to Plaintiff’s First Request for Admissions.

                                             Respectfully submitted,
                                             DOWNEY & CLEVELAND, LLP


                                             By:     /s/ Sean L. Hynes
                                                     Sean L. Hynes
                                                     Georgia State Bar No. 381698
                                                     hynes@downeycleveland.com
                                                     Attorneys for Defendant Quiktrip
                                                     Corporation

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       Vangelis Zafiroulis, Esq.
       William T. “Billy” Joyner, Esq.
       Haug Law Group, LLC
       8237 Dunwoody Place
       Atlanta, Georgia 30350

       This 17th day of February, 2022.

                                              DOWNEY & CLEVELAND, LLP


                                              By:     /s/ Sean L. Hynes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
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        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 8 of 12                      CLERK OF STATE COURT
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                    IN THE STATE COURT OF GWINNETT COUNTY
                                     STATE OF GEORGIA

 KATINA BOOKER,
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 v.
                                                )
                                                )             FILE NO. 22-C-00187-S4
 QUIKTRIP CORPORATION, JANE                     )
 DOE, JOHN DOE, XYZ CORP, AND                   )
 ABC CORP,                                      )
                                                )
                 Defendants.


              DEFENDANT QUIKTRIP CORPORATION’S RESPONSES TO
                 PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS

       COMES NOW, Defendant QUIKTRIP CORPORATION, appearing specially and without

submitting to the jurisdiction and venue of this Court, and responds to Plaintiff’s First Request for

Admissions as follows:

                                    GENERAL OBJECTION

       Defendant objects to the Request for Admissions served by Plaintiff along with the

Complaint on the grounds that it is it is inappropriate for Plaintiff to serve such request for

admissions along with the complaint. See Perez v. Miami-Dade Cnty., 297 F.3d 1255, 1266 (11th

Cir. 2002). It is too early for Defendant, having not yet received the allegations, to perceive what

facts should or should not be contested. It is further inappropriate for Plaintiff to re-serve the

complaint in the form of Request for Admissions in order to require Defendant to admit or deny

nearly every paragraph of a Complaint that it has already answered.” Id.

       Defendant further objects to the Plaintiff’s Request for Admissions on the grounds that

such Requests are not set forth as provided for under O.C.G.A. § 9-11-125. Further, these Requests
        Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 9 of 12




are combined with additional discovery, and thus, are procedurally deficient. See A & D Barrel &

Drum Co. v. Fuqua, 132 Ga. App. 827, 831 (1974), overruled on other grounds by G. H. Bass &

Co. v. Fulton Cty. Bd. of Tax Assessors, 268 Ga. 327 (1997), stating that Requests for Admissions

should not carry excess baggage, including enclosing of interrogatories.

                                               1.

       Defendant objects to paragraph 1 of Plaintiff’s First Request for Admissions on the grounds

that it is vague and confusing. Subject to the foregoing objection and without waiving same,

Defendant admits/denies the averments contained in said paragraph.

                                               2.

       Defendant admits the averments contained in paragraph 2 of Plaintiff’s Request for

Admissions.

                                               3.

       Defendant denies the averments contained in paragraph 3 of Plaintiff’s Request for

Admissions.

                                               4.

       Defendant denies the averments contained in paragraph 4 of Plaintiff’s Request for

Admissions.

                                               5.

       Defendant admits the averments contained in paragraph 5 of Plaintiff’s Request for

Admissions.

                                               6.

       Defendant denies the averments contained in paragraph 6 of Plaintiff’s Request for

Admissions, as alleged.
       Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 10 of 12




                                                7.

       Defendant denies the averments contained in paragraph 7 of Plaintiff’s Request for

Admissions.

                                                8.

       Defendant denies the averments contained in paragraph 8 of Plaintiff’s Request for

Admissions.

                                                9.

       Upon information and belief, and after reasonable inquiry, the information known or

readily obtainable by Defendant is insufficient to enable Defendant to admit or deny the averments

contained in paragraph 9 of Plaintiff’s Request for Admissions.

                                               10.

       Upon information and belief, and after reasonable inquiry, the information known or

readily obtainable by Defendant is insufficient to enable Defendant to admit or deny the averments

contained in paragraph 10 of Plaintiff’s Request for Admissions.

                                               11.

       Defendant denies the averments contained in paragraph 11 of Plaintiff’s Request for

Admissions.

                                               12.

       Defendant denies the averments contained in paragraph 12 of Plaintiff’s Request for

Admissions.
      Case 1:22-cv-00715-TWT Document 1-2 Filed 02/21/22 Page 11 of 12




                                   Respectfully submitted,
                                   DOWNEY & CLEVELAND, LLP


                                   By:    /s/ Sean L. Hynes
                                          Sean L. Hynes
                                          Georgia State Bar No. 381698
                                          hynes@downeycleveland.com
                                          Attorneys for Defendant Quiktrip
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       This 17th day of February, 2022.

                                              DOWNEY & CLEVELAND, LLP


                                              By:     /s/ Sean L. Hynes
                                                      Sean L. Hynes
                                                      Georgia State Bar No. 381698
